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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )                  8:14CR306
                      Plaintiff,                )
                                                )
       vs.                                      )                    ORDER
                                                )
FREDY AGUILAR-PORTILO,                          )
JOSE SALAZAR-BILLALBA, and                      )
DANIELLA ERICKSON,                              )
                                                )
                      Defendants.               )

       This matter is before the court on the oral motion of defendant Daniella Erickson
(Erickson) for an extension of the pretrial motion deadline. The motion was made during the
arraignment on the Indictment on September 24, 2014. The government had no objection to
the motion and also moved for an extension of the discovery deadline. Erickson acknowledged
the additional time needed for these motions would be excluded under the calculations under
the Speedy Trial Act. The oral motions were granted. The discovery deadline and pretrial
motion deadline will be extended as to all defendants.


        IT IS ORDERED:
        1.     Erickson’s motion for an extension of time to file pretrial motions is granted. The
government’s motion to extend the discovery deadline is granted. AS TO ALL DEFENDANTS,
the discovery deadline is re-set for October 3, 2014, and the parties shall have to on or before
December 19, 2014, in which to file pretrial motions in accordance with the progression order.
        2.      The ends of justice have been served by granting such motions and outweigh
the interests of the public and the defendants in a speedy trial. The additional time arising as
a result of the granting of the motion, i.e., from September 24, 2014, to December 19, 2014,
shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason counsel requires additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(7)(A) & (B).
        DATED this 24th day of September, 2014.
                                                     BY THE COURT:
                                                      s/ Thomas D. Thalken
                                                     United States Magistrate Judge
